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EXHIBIT R
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                IN THE UNITED STATES DISTRICT COURT
                  MIDDLE DISTRICT OF PENNSYLVANIA

ANTHONY BARASKY,                         CIVIL ACTION
        Plaintiff
                                         CASE NO. 4:21-cv-02041
v.

KEVIN DENT et al.


             Defendants.

              DISCLOSURES OF PLAINTIFF PURSUANT TO
              FEDERAL RULE OF CIVIL PROCEDURE 26(a)

       Plaintiff, by and through his attorney, Leonard Gryskewicz, Jr.,

pursuant to Federal Rule of Civil Procedure 26(a) does hereby provide the

following initial disclosures:

The name and, if known, the address and telephone number of each
individual likely to have discoverable information that the disclosing
party may use to support its claims or defenses, unless the use would
be solely for impeachment.
     1. Anthony Barasky, 1534 Louisa Street, Williamsport, PA 17701
     2. Kevin Dent
     3. Tyson Havens
     4. Joshua Bell
     5. Clinton Gardner
     6. Christopher Kriner
     7. Joseph Hope
     8. Matthew Thomas Sumpter
     9. Old Lycoming Township Police Officer Brown
     10. Old Lycoming Township Police Officer Engel
     11. K. Michael Sullivan, Esq., 48 West Third Street, Williamsport, PA
        17701
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  12. Lycoming County District Attorney’s Office, 48 West Third Street,
     Williamsport, PA 17701
A copy—or a description by category and location—of all documents,
electronically stored information, and tangible things that the
disclosing party has in its possession, custody, or control and may use
to support its claims or defenses.
  1. See attached.
  2. Phone seized during the traffic stop is in the possession of Anthony
     Barasky’s minor child and has been used by Anthony Barasky’s minor
     child since it was returned to Plaintiff by the Williamsport Police.
A computation of each category of damages claimed by the disclosing
party—who must also make available for inspection and copying as
under Rule 34 the documents or other evidentiary material, unless
privileged or protected from disclosure, on which each computation is
based.
  1. Actual damages for emotional distress, fear, humiliation,
     embarrassment, loss of time, incarceration, damage to reputation,
     damage to credit, and all other damages outlined in the amended
     complaint which are not readily calculable but can be awarded by a
     jury.
  2. Actual damages of $9,407.41 from Avis Rent A Car plus any interest,
     collection fees, and late charges from the Visa account this charge was
     placed on, $673.32 owed to Avis Rent A Car and various debt
     collectors plus any interest, collection fees, and late payments,
     $3,536.36 owed to Pennsylvania College of Technology and various
     debt collectors of this debt plus any interest, collection fees, and late
     charges, $379.39 from over drafted account from West Branch Valley
     Federal Credit Union plus any interest, collection fees, and late
     charges, $275.91 for PNC Bank account closed with negative balance
     plus any interest, collection fees, and late charges, $3,533.55 in rent
     payments made while incarcerated, $6,435.00 in legal fees and costs
     to defend against the prosecution of the unjust criminal charges.
  3. Punitive damages, which are not readily calculable but can be awarded
     by a jury.
  4. Attorney’s fees and costs. This amount fluctuates based upon the
     amount of time Plaintiff’s counsel must reasonably spend prosecuting
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     this case. Similarly, the amount of costs incurred will fluctuate and
     increase as the litigation unfolds based upon the reasonable costs
     incurred by Plaintiff.
Any insurance agreement under which an insurance business may be
liable to satisfy all or part of a possible judgment in the action or to
indemnify or reimburse for payments made to satisfy the judgment.
  1. Not applicable to Plaintiff.
Disclosure of expert testimony pursuant to Federal Rule of Civil
Procedure 26(a)(2)
  1. At this time, Plaintiff is unable to disclose the name of any expert or
     experts that will be called at trial. Plaintiff reserves the right to
     supplement this disclosure.
Disclosures of Pre-Trial information pursuant to Federal Rule of Civil
Procedure 26(a)(3)
  1. Plaintiff is unable to disclose any additional or other information other
     than what has already been provided. Plaintiff reserves his right to
     supplement this disclosure pursuant to Federal Rule of Civil Procedure
     26(a)(3).
                                         Respectfully Submitted,


Dated: 6/29/2022                         s/ Leonard Gryskewicz, Jr.
                                         Leonard Gryskewicz, Jr.
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                                         Lampman Law
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